
54 So.3d 611 (2011)
George Lee SPERDUTI, Appellant,
v.
STATE of Florida, Appellee.
No. 5D09-2508.
District Court of Appeal of Florida, Fifth District.
February 18, 2011.
James S. Purdy, Public Defender, and Anne Moorman Reeves, Assistant Public Defender, Daytona Beach, for Appellant.
George L. Sperduti, Sneads, pro se.
Pamela Jo Bondi, Attorney General, Tallahassee, and Anthony J. Golden, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
AFFIRMED. See State v. Abreau, 363 So.2d 1063 (Fla.1978) (holding failure to instruct jury on offense two or more steps removed from charged and convicted offense may be found to be harmless error).
ORFINGER, TORPY and COHEN, JJ., concur.
